       Case 21-00253-ELG            Doc 32    Filed 12/17/21 Entered 12/17/21 16:37:13           Desc Main
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The order below is hereby signed.

Signed: December 17 2021




                                     UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF COLUMBIA

        In re:                                        :
                        KEITH REMEKIE,                :       Case No. 21-00253-ELG
                                                      :             Chapter 13
                                  Debtor.             :
                                                      :

                    ORDER DENYING CONFIRMATION OF THE CHAPTER 13 PLAN

                 Having held a hearing on December 17, 2021, on the Chapter 13 Plan proposed by the

        Debtor at ECF 18, where the Debtor failed to appear, and having concluded that the proposed Plan

        does not fulfill the requirements of confirmation set out in 11 U.S.C. §1325; it is, by the United

        States Bankruptcy Court for the District of Columbia,

                 ORDERED, that confirmation of the Chapter 13 Plan proposed by the Debtor is denied;

        and it is further,

                 ORDERED, that the Debtor is given leave to file an amended plan on or before January 7,

        2022; and it is further

                 ORDERED, that if the Debtor does not file an amended plan on or before January 7, 2022,

        that the Debtor’s case will be dismissed with prejudice as to re-filing for a period of 180 days from

        entry of the order dismissing case pursuant to 11 U.S.C. §1307 without further notice or a hearing.


        I ASK FOR THIS:
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/s/Rebecca A. Herr
Rebecca A. Herr
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Chapter 13 Trustee
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cc:
Keith Remekie
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Washington DC 20010
Debtor

Rebecca A. Herr
Chapter 13 Trustee
185 Admiral Cochrane Drive # 240
Annapolis MD 21401

All creditors and parties and interest
                                              END OF ORDER
